Case 0:23-cv-60345-JB Document 467-19 Entered on FLSD Docket 12/02/2024 Page 1 of 2




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                                                 May 14, 2024

                         CONFIDENTIAL SETTLEMENT COMMUNICATION


   Furnished by E-Mail: laura@leburgesslaw.com
   Laura E. Burgess, Esq.
   L. E. Burgess P.A.
   5966 South Dixie Hwy, Suite 300
   Miami, FL 33143

            RE:    Kayla McNeill’s claim against Head Kandy, LLC regarding Fla. Stat. §§ 772.11,
                   812.014

   Dear Ms. Burgess,
           As you are aware, our firm represents Head Kandy, LLC (“Head Kandy”), with respect to the
   above-referenced complaint by Kayla McNeill pursuant to Fla. Stat. § 772.11. Please allow this letter
   to provide a formal resolution from our clients in which Ms. McNeill may come and pick up the Nissan
   Forklift (the “Forklift”) to resolve all claims between the parties regarding the Forklift, with each party
   bearing its own attorneys’ fees and costs. Please note that this offer for resolution should not be
   construed as an offer to settle the ongoing litigation in the matter of Head Kandy LLC v. McNeill, Case
   No. 0:23-cv-60345-JB.
           I understand that your client and ours have conflicting views on the facts determining how this
   Forklift has remained on Head Kandy property. To be clear, Head Kandy maintains the position that
   Ms. McNeill never put Head Kandy on notice that Ms. McNeill “demanded” the return of the Forklift.
   Indeed, if Head Kandy had been made aware of this demand, it would have of course offered to allow
   Ms. McNeill to come onto the property for the limited purpose of collecting the Forklift, as it is doing
   now.
            This allowance should be more than sufficient to resolve any claims Ms. McNeill alleges under
   Fla. Stat. § 772.11, but in the event conflicting views remain, our office will briefly address the
   insufficiency of this claim. As I am sure you are aware, to prevail in an action for civil theft, a plaintiff
   must prove by clear and convincing evidence that the defendant acted with “felonious intent to steal.”
   Where a plaintiff cannot pass that rigorous test for intent, the cause of action fails. Lewis v. Heartsong,
   559 So.2d 453 (Fla. 1st DCA 1990) (court ruled that the complaint was deficient where a store owner
   failed to allege that defendants, who removed inventory and property from the store without consent,
   and then refused to return the property or tender payment, acted with a “felonious intent to steal”).



   {00081913:1}
                                                EXHIBIT 19
Case 0:23-cv-60345-JB Document 467-19 Entered on FLSD Docket 12/02/2024 Page 2 of 2

   Laura E. Burgess, Esq.
   L. E. Burgess P.A.
   May 14, 2024
   Page 2

            When defining “felonious intent to steal” Florida courts turn to the definitions of “criminal
   intent” provided throughout Florida’s criminal code. Florida Stat. § 772.11 utilizes the definition of
   theft laid out in Section 812.014. And again, as I am sure you are aware as you have cited to the statute
   in your demand, theft is an offense requiring a specific intent. Not only must a plaintiff show that the
   defendant intended to take the plaintiff’s property, but additionally, that the defendant acted with the
   intent to deprive the plaintiff of the property or appropriate it to their own use. It is not sufficient that
   a defendant simply “obtained” or retained a piece of property, the statute requires something greater.
   Rather, at the moment of the taking, the defendant intended to take the property. The intent of that
   defendant must be proven by clear and convincing evidence, which facially does not exist in this
   case.
            This elevated civil burden is precisely why the Florida Bar cautions counsel to carefully
   evaluate their client’s claim prior to initiating an action for civil theft. See Mark R. Osherow, Counsel
   Beware: Considerations Before Implementing Florida’s Civil Theft Statute, 77 No. 3 Fla. Bar J. 28
   (March 2003). Fla. Stat. § 772.11 further discourages civil theft claims lacking in legal or factual
   substance by awarding attorney’s fees to a prevailing defendant who shows the plaintiff’s claim was
   without legal or factual support. Florida Courts are not required to apply the standard prescribed by the
   rule for attorney’s fees generally under Section 772.11. Rather, the standard for awarding attorney’s
   fees to a defendant under Section 772.11 is more flexible and does not even require the court to find a
   “complete absence of legal and factual support for the [plaintiff’s] civil theft claim.” Ciaramello v.
   D’Ambra, 613 So.2d 1324 (Fla. 2nd DCA 1991).
           Again, we need not reach that point in the analysis of this matter because Ms. McNeill
   permitted the Forklift to remain on Head Kandy property. Head Kandy has not, and will not, prevent
   Ms. McNeill from coming onto the property at an agreed upon time to retrieve the Forklift. Neither
   Section 772.11 nor 812.014 create an affirmative burden to return property abandoned by a plaintiff.
   Clearly, an act of theft as defined in Section 812.014 has not been committed in this case.
            It is Head Kandy’s sincere hope that Ms. McNeill sees the benefit of agreeing to Head Kandy’s
   offer to resolve this matter by arranging a time with our office to pick up the Forklift. We look forward
   to your response.


                            Respectfully,

                            BARTLETT LOEB HINDS
                            THOMPSON AND ANGELOS

                            /s/ Ethan J. Loeb
                            Ethan Loeb




   EJL/kr


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